                    Case 3:25-cv-04870-CRB                   Document 2         Filed 06/09/25       Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Northern District
                                                    __________  District of
                                                                         of California
                                                                            __________

 GAVIN NEWSOM, IN HIS OFFICIAL CAPACITY AS                            )
  GOVERNOR OF THE STATE OF CALIFORNIA;                                )
          STATE OF CALIFORNIA                                         )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                           Civil Action No. 3:25-cv-04870
                                                                      )
   DONALD TRUMP, IN HIS OFFICIAL CAPACITY;                            )
   PETE HEGSETH, IN HIS OFFICIAL CAPACITY;                            )
        U.S. DEPARTMENT OF DEFENSE                                    )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) • DONALD TRUMP, in his official capacity as President of the United States, 1600
                                           Pennsylvania Ave. NW, Washington, DC 20500
                                           • PETE HEGSETH, in his official capacity as Secretary of Defense, 1000 Defense
                                           Pentagon, Washington, DC 20301-1000
                                           • U.S. Department of Defense, 1000 Defense Pentagon, Washington, DC 20301-1000



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: LAURA L. FAER
                                           Acting Senior Assistant Attorney General
                                           1515 Clay St.
                                           Oakland, CA 94612
                                           Telephone: (510) 879-3304
                                           E-mail: Laura.Faer@doj.ca.gov

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                          Signature of Clerk or Deputy Clerk
                       Case 3:25-cv-04870-CRB                 Document 2         Filed 06/09/25           Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:25-cv-04870

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
